             Case 5:21-cv-01022-G Document 77 Filed 08/08/22 Page 1 of 5




                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

                                            )
[1] BLACK EMERGENCY RESPONSE TEAM,          )
    et al.                                  )
           Plaintiffs,                      )
                                            )
v.                                          )                      Case No. 5:21-cv-1022-G
                                            )
[l] JOHN O’CONNOR, in his official capacity )                      Hon. Charles B. Goodwin
As Oklahoma Attorney General, et al.,       )
                                            )
            Defendants.                     )
___________________________________________ )

     PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL PAPERS

         Plaintiffs Black Emergency Response Team (BERT), et al. (“Plaintiffs”), pursuant

to Local Rule 7.1(i) and (k), respectfully request leave of this Court to supplement their

Motion for Preliminary Injunction (Dkt. 27) with information and materials concerning a

recent enforcement action taken by Defendant Oklahoma State Board of Education ( the

“Board”) pursuant to H.B. 1775 (the “Act”). 1 This recent action has a direct bearing on

the Court’s consideration of the preliminary injunction request pending before this Court.

         In support of their motion for leave, Plaintiffs state:

             1. Plaintiffs filed their Motion for Preliminary Injunction in this case on

                October 29, 2021. (Dkt. 27.)

             2. Defendants filed their Responses and Objections to Plaintiff’s Motion for

                Preliminary Injunction on December 16, 2021. (Dkts. 58, 60-61.)



1
    Plaintiffs’ proposed supplemental submission is attached hereto as Exhibit 1.
                                                1
Case 5:21-cv-01022-G Document 77 Filed 08/08/22 Page 2 of 5




3. Plaintiffs filed their Consolidated Reply in Support of Their Motion for a

   Preliminary Injunction on January 13, 2022. (Dkt. 66.)

4. The parties discussed the Preliminary Injunction Motion via conference call

   with the Court conducted on January 25, 2022. (Dkt. 70.)

5. Plaintiffs seek to alert the Court to recent actions by the Board and the

   Oklahoma State Department of Education (“OSDE”) that have a material

   bearing on the issues before the Court on Plaintiffs’ motion for a

   preliminary injunction.

6. Specifically, on Thursday, July 28, 2022, the Board voted to penalize the

   Tulsa Public School District by adjusting its accreditation status to

   “Accredited with Warning.” The accreditation change was based upon a

   finding by OSDE staff that a training program for Tulsa K-12 teachers

   designed, in part, to address potential bias included several of the

   “prohibited concepts” set forth in section 1(B)(1) of H.B. 1775.

7. In their preliminary injunction motion, Plaintiffs argue, in part, that the Act

   is unconstitutionally vague and overbroad resulting in improper censorship

   in schools and universities and impinging on the critical First Amendment

   interests at stake for both teachers and students. (Dkt. 27.)

8. The details and circumstances of this recent enforcement action, including

   the interpretation and application of the Act’s prohibited concepts, are

   directly relevant to the parties’ dueling arguments on vagueness,

   overbreadth and the Act’s conformity with the First Amendment.

                                   2
          Case 5:21-cv-01022-G Document 77 Filed 08/08/22 Page 3 of 5




          9. Plaintiffs believe that this additional information will benefit the Court as it

             considers the parties’ arguments on Plaintiffs’ motion because it provides

             an important example of the Act’s real-life application and the reasoning of

             those tasked with interpreting and enforcing it.

          10. Plaintiffs’ counsel contacted Defendants’ counsel on August 5, 2022

             regarding any objection to this Motion. The University of Oklahoma Board

             of Regents members (“OU Regents”), the Superintendent of Edmond

             Public Schools, and the Board of Education of Edmond Public Schools

             members (“EPS Board members”) do not oppose the relief requested

             herein. Counsel for the Oklahoma Attorney General, Oklahoma

             Superintendent of Public Instruction, members of the Oklahoma State

             Board of Education (“SBE members”), the Governor of Oklahoma, and

             members of the Oklahoma State Regents for Higher Education (“State

             Regents”) stated they are unable to take a position until they have had a

             chance to review the submission attached herein.

                                 RELIEF REQUESTED

      For the reasons stated above, Plaintiffs respectfully request this Court grant them

leave to submit supplemental information addressing the Board and OSDE’s recent

enforcement action against the Tulsa Public Schools District pursuant to H.B. 1775.



 Dated: August 8, 2022                                Respectfully submitted,

 Genevieve Bonadies Torres                            /s/ Megan Lambert

                                             3
        Case 5:21-cv-01022-G Document 77 Filed 08/08/22 Page 4 of 5




David Hinojosa                              Megan Lambert
LAWYERS’ COMMITTEE FOR CIVIL RIGHTS         AMERICAN CIVIL LIBERTIES UNION
  UNDER LAW                                   FOUNDATION OF OKLAHOMA
1500 K Street NW, Suite 900                 P.O. Box 13327
Washington, DC 20005                        Oklahoma City, OK 73113
gbonadies@lawyerscommittee.org              Tel.: 405-524-8511
dhinojosa@lawyerscommittee.org              mlambert@acluok.org

Gary Stein                                  Emerson Sykes
Sara Solfanelli                             Leah Watson
Ramya Sundaram                              Sarah Hinger
SCHULTE ROTH & ZABEL LLP                    AMERICAN CIVIL LIBERTIES
919 Third Avenue                             UNION FOUNDATION
New York, NY 10022                          125 Broad Street, 18th Floor
gary.stein@srz.com                          New York, NY 10004
michael.cutini@srz.com                      esykes@aclu.org
sara.solfanelli@srz.com                     lwatson@aclu.org
amir.shakooriantabrizi@srz.com              shinger@aclu.org
ramya.sundaram@srz.com


                                            Counsel for Plaintiffs




                                      4
          Case 5:21-cv-01022-G Document 77 Filed 08/08/22 Page 5 of 5




                             CERTIFICATE OF SERVICE

      I hereby certify that on August 8, 2022, I electronically filed the foregoing Plaintiffs’

Motion to For Leave to File Supplemental Papers with the Clerk of Court via the Court’s

CM/ECF system, which effects service upon all counsel of record.



                                                 Respectfully submitted,

                                                 /s/ Megan Lambert
                                                 Megan Lambert
                                                 AMERICAN CIVIL LIBERTIES UNION
                                                   FOUNDATION OF OKLAHOMA
                                                 P.O. Box 13327
                                                 Oklahoma City, OK 73113
                                                 Tel.: 405-524-8511
                                                 mlambert@aclu.ok.org


                                                 Counsel for Plaintiffs




                                                                                             5
